IN THE SUPREME COURT OF TEXAS

                                 No. 09-0433

  IN RE  OLSHAN FOUNDATION REPAIR COMPANY, LLC AND OLSHAN FOUNDATION REPAIR
                           COMPANY OF DALLAS, LTD.

                      On Petition for Writ of Mandamus

ORDERED:

      1.    Relators' motion for temporary relief, filed June 18,  2009,  is
granted.  All  trial  court  proceedings  in  Cause  No.  07-06-429,  styled
Charley and Gladys Tisdale v.  Olshan  Foundation  Repair  Company  LLC  and
Olshan Foundation Repair Company of Dallas,  Ltd.,  in  the  271st  District
Court of Wise County, Texas,  are  stayed  pending  further  order  of  this
Court.
      2.    The real  parties  in  interest  are  requested  to  respond  to
relators' petition for writ of mandamus on or before  3:00  p.m.,  July  13,
2009.
      3.    The petition for writ of mandamus remains  pending  before  this
Court.

            Done at the City of Austin, this July 03, 2009.
                                  [pic]
                                  Blake A. Hawthorne, Clerk
                                  Supreme Court of Texas


                                  By Claudia Jenks, Chief Deputy Clerk


